 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 1 of 22 Page ID #:1696

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SA CV 19-388 PA (JDEx)                                        Date    August 12, 2019
 Title             Housing is a Human Right Orange County, et al. v. County of Orange, et al.



 Present: The Honorable           PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                              Not Reported                          N/A
                 Deputy Clerk                              Court Reporter                       Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                             None                                                 None
 Proceedings:                 IN CHAMBERS - COURT ORDER

       Before the Court is a Motion to Dismiss filed by defendants City of Aliso Viejo (“Aliso
Viejo”), City of San Juan Capistrano (“San Juan Capistrano”), and City of San Clemente (“San
Clemente”) (collectively “Moving Defendants”) (Docket No. 72). Moving Defendants challenge
the sufficiency of the First Amended Complaint (“1st AC”) filed by plaintiffs Housing is a
Human Right Orange County (“HHROC”), Orange County Catholic Worker (“OCCW”),
Emergency Shelter Coalition (“ESC”), Bruce Stroebel, Duane Nichols, and Darren James
(collectively “Plaintiffs”). Pursuant to Rule 78 of the Federal Rules of Civil Procedure and
Local Rule 7-15, the Court finds that this matter is appropriate for decision without oral
argument. The Court previously vacated the hearing on the Motion to Dismiss and took the
matter taken off calendar.

I.        Factual and Procedural Background

       This action concerns municipal efforts to address the growing population of individuals
experiencing homelessness within the community. Those efforts include the enforcement of
anti-camping ordinances in some municipalities. Plaintiffs, three unhoused individuals and
several organizations dedicated to the provision of services for unsheltered persons, contend that
the enforcement of such ordinances violates the civil rights of those experiencing homelessness.
Plaintiffs, on behalf of themselves and a putative class of “[a]ll persons who are experiencing
homelessness in South County and are unable to access a shelter offering a reasonable
accommodation for their disabilities, if any,” commenced this action on February 27, 2019.
Plaintiffs filed their 1st AC on May 13, 2019 as a matter of right.

       The 1st AC asserts a variety of legal theories pursuant to both federal and state statutory
and constitutional law against Orange County (the “County”), Moving Defendants, the City of
Irvine (“Irvine”), and the City of Dana Point (“Dana Point”) (collectively “Defendants”).
Specifically, the 1st AC asserts claims against certain municipalities located in the southern
portion of Orange County, and Orange County itself, for: (1) violations of the Eighth and
Fourteenth Amendments pursuant to 42 U.S.C. § 1983 against all Defendants; (2) violations of
CV-90 (06/04)                                   CIVIL MINUTES - GENERAL                                  Page 1 of 22
 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 2 of 22 Page ID #:1697

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

the First and Fourth Amendments pursuant to 42 U.S.C. § 1983 against all Defendants;
(3) violations of the Due Process Clause of the Fourteenth Amendment pursuant to 42 U.S.C.
§ 1983 against all Defendants; (4) liability pursuant to California Civil Code section 815.6 for
violating the Fourteenth Amendment, California Government Code Section 65583, Article I,
section 7 of the California Constitution, and California Civil Code section 52.1 against all
Defendants; (5) violations of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12132
& 12133 against all Defendants; (6) violations of California Civil Code section 52.1 against all
Defendants; (7) violations of the Due Process Clauses of the Fifth and Fourteenth Amendments
pursuant to 42 U.S.C. § 1983 and Article I, section 7 of the California Constitution by plaintiff
Darren James against San Clemente; (8) violation of California Government Code section 11135
against all Defendants; and (9) a taxpayers’ suit for declaratory and injunctive relief pursuant to
California Code of Civil Procedure section 526a against all defendants. In the 1st AC, Plaintiffs
seek injunctive and declaratory relief to prevent Defendants from citing or arresting individuals
for “quality of life” violations, including but not limited to camping, property, and loitering laws
applicable in public places. The 1st AC also seeks damages for the individual plaintiffs and
attorneys’ fees.

        The County has filed an Answer to the 1st AC and the deadline for Irvine and Dana Point
to respond has not expired. In their Motion to Dismiss, Moving Defendants contend that
Plaintiffs lack standing to pursue their claims against Aliso Viejo and San Juan Capistrano and
that the organizational plaintiffs do not have standing to pursue any of their claims, including
those alleged against San Clemente. Moving Defendants also assert that each of the claims
asserted in the 1st AC fails to state a viable claim. In their Reply, Moving Defendants cite to
Federal Rule of Civil Procedure 20 in support of their argument that the addition of new
individual plaintiffs who reside in Aliso Viejo and San Juan Capistrano would not cure this
standing deficiency. As a result of Moving Defendant’s citation to Federal Rule of Civil
Procedure 20, the Court ordered the parties to show cause why one or more of the defendants
should not be dropped for misjoinder. Additionally, because some of the state law claims
asserted in the 1st AC appeared to raise novel or complex issues of California law, might
substantially predominate over the claims over which the Court possesses original jurisdiction,
or presented exceptional circumstances, the Court additionally ordered the parties to show cause
why the Court should exercise supplemental jurisdiction over one or more of the state law
claims. See 28 U.S.C. §§ 1367(c)(1)-(2) & (c)(4).

       Because the joinder and supplemental jurisdiction issues raised in the Court’s Order to
Show Cause may reduce the remaining issues the Court may need to address in resolving the
Moving Defendants’ Motion to Dismiss, the Court will address those issues before analyzing
Plaintiffs’ standing and the sufficiency of the 1st AC’s legal claims.


CV-90 (06/04)                              CIVIL MINUTES - GENERAL                             Page 2 of 22
 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 3 of 22 Page ID #:1698

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date    August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

II.       Joinder

       Plaintiffs have joined their claims against multiple municipalities that each have different
relevant ordinances, programs, and circumstances, into a single action. Federal Rule of Civil
Procedure 20(a)(2), which allows for permissive joinder, provides:

                 Persons . . . may be joined in one action as defendants if:

                 (A)    any right to relief is asserted against them jointly, severally, or
                        in the alternative with respect to or arising out of the same
                        transaction, occurrence, or series of transactions or
                        occurrences; and

                 (B)    any question of law or fact common to all defendants will
                        arise in the action.

Fed. R. Civ. P. 20(a)(2) (emphasis added); see also League to Save Lake Tahoe v. Tahoe Reg’l
Planning Agency, 558 F.2d 914, 917 (9th Cir. 1977). “The first prong, the ‘same transaction’
requirement, refers to similarity in the factual background of a claim.” Coughlin v. Rogers, 130
F.3d 1348, 1350 (9th Cir. 1997).

        In their Response to the Court’s Order to Show Cause, Moving Defendants, Irvine, and
Dana Point all argue that they are misjoined into a single action. Because the Court has already
adjudicated an Ex Parte Application for Temporary Restraining Order involving San Clemente’s
anti-camping ordinance and creation of a temporary campground, Moving Defendants suggest
that this action should proceed, if at all, only against San Clemente and the County in its role as
San Clemente’s contracted law enforcement agency. Plaintiffs contend that their joinder of
Defendants is proper:

                 All Defendants are properly joined in this action. . . . [T]he harms
                 suffered by the plaintiffs, including both the individual named
                 plaintiffs and the organizational plaintiffs, stem from the collective
                 failure of the South County cities to provide shelter and the threats of
                 arrest they have made without available beds in the region. As a
                 result, the individual plaintiffs in the class have been forced to seek
                 shelter and other assistance from other organizations in the region
                 and even as far away as Santa Ana. Because members of the
                 putative class have been subject to threats of arrest in multiple
                 jurisdictions and pushed from one jurisdiction to another, it would be

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                              Page 3 of 22
 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 4 of 22 Page ID #:1699

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

                 inefficient and unnecessary to have the case against each jurisdiction
                 proceed as a separate lawsuit with common questions of law and in
                 which each person would need to be deposed separately.

(Docket No. 96 at 3:18-28.) According to Plaintiffs:

                 Here, there is a logical relationship between the claims joined, as the
                 collective, albeit independent, actions of the Defendant cities, have
                 jointly caused the harms suffered by the individual and/or
                 organizational plaintiffs. Each Defendant city, with its
                 “not-in-my-back-yard” approach to criminalizing homelessness,
                 collectively contributes to the harm against plaintiffs, pushing them
                 out of their communities, threatening them with arrest for actions
                 they cannot avoid such as sleeping in public, foreclosing them from
                 the ability of seeking housing in a separate Defendant city, and
                 forcing them to seek shelter in North Orange County, which in turn
                 impacts the organizational plaintiffs.

(Id. at 3:24-4:4.)

        While the Court appreciates Plaintiffs’ desire to address issues related to individuals
without shelter on a regional basis, that desire does not allow the Court to ignore the
requirements of Federal Rule of Civil Procedure 20. Nor does that desire permit Plaintiffs to
combine in one action claims against multiple municipalities that Plaintiffs admit act
“independently” and each have their own ordinances, different populations of unhoused
individuals, programs for addressing the situation, and other local circumstances that require
individualized determinations. See Coughlin, 130 F.3d at 1351 (finding misjoinder where
“[e]ach claim raises potentially different issues, and must be viewed in a separate and individual
light by the Court.”). Nor do Plaintiffs’ concerns about efficiency support the joinder of these
municipalities. Those concerns are belied by the fact that some of these same Plaintiffs and
Plaintiffs’ counsel have been involved in Orange County Catholic Worker v. Orange County, SA
CV 18-155 DOC (JDEx) for at least 18 months and Plaintiffs appear to have elected not to
pursue claims against some of the other cities located in the southern part of the County in this
action. Plaintiffs therefore appear to be picking and choosing when to bring these actions and
against which entities, and have therefore undermined the “regional” aspect of this litigation and
created the inefficiency they claim this joinder allegedly cures. Nor is there any practical limit
to this “regional” approach. Under Plaintiffs’ joinder theory, a mere allegation that the policies
of one region or municipality exacerbate a problem in another municipality would allow joinder
of all such defendants. That theory would potentially allow Plaintiffs to join in one action not

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                             Page 4 of 22
 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 5 of 22 Page ID #:1700

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

just certain municipalities in one confined area, but in neighboring counties or states. Finally,
Plaintiffs’ concerns about potential inefficient discovery are unavailing because nothing prevents
the parties from agreeing to use the discovery conducted in one action in other actions.

       Moving Defendants, relying on Wilbur v. Locke, 423 F.3d 1101 (9th Cir. 2005),
abrogated on other grounds by Levin v. Commerce Energy, Inc., 560 U.S. 413, 130 S. Ct. 2323,
176 L. Ed. 2d 1131 (2010), suggest that the Court must determine that Plaintiffs have standing to
pursue their claims against Aliso Viejo and San Juan Capistrano before it considers dropping
those defendants for misjoinder. In Wilbur, the Ninth Circuit concluded that “jurisdictional
issues should be decided before reaching” a Federal Rule of Civil Procedure 19 issue involving
the joinder of an indispensable party. Id. at 1106. Here, however, Moving Defendants do not
dispute that the Court possesses, at a minimum, subject matter jurisdiction over at least some of
the individual plaintiffs’ claims against San Clemente. Wilbur does not require that the Court
resolve jurisdictional issues as to misjoined defendants under Federal Rule of Civil Procedure 20
before dropping those misjoined defendants under Federal Rule of Civil Procedure 21, when it is
undisputed that the Court possesses subject matter jurisdiction over at least some of the claims
asserted against a defendant. Requiring the Court to assess Plaintiffs’ standing prior to
analyzing the misjoinder issue in this situation would waste judicial resources and result in the
Court issuing an advisory opinion applicable to a future action against the misjoined and
dropped defendants. The Court declines to adopt this procedure.

        For all of the foregoing reasons, the Court concludes that Federal Rule of Civil Procedure
20 does not allow the joinder of Plaintiffs’ claims against each of the municipalities into a single
action. Pursuant to Federal Rule of Civil Procedure 21, “[m]isjoinder of parties is not a ground
for dismissing an action.” Instead, “[o]n motion or on its own, the court may at any time, on just
terms, add or drop a party.” Fed. R. Civ. P. 21. “Where parties have been inappropriately
joined, it is accepted practice under Rule 21 to dismiss all defendants except for the first named
in the complaint; this operates as a dismissal of plaintiffs’ claims against other defendants
without prejudice.” Armstead v. City of Los Angeles, 66 F. Supp. 3d 1254, 1263-64 (C.D. Cal.
2014) (citing Bravado Int’l Grp. Merch. Servs. v. Cha, No. CV 09-9066 PSG (CWx), 2010 WL
2650432, *5 (C.D. Cal. June 30, 2010)). However, district courts that dismiss a defendant rather
than severing a complaint must consider the prejudice of dismissal to the plaintiff, including
whether otherwise timely claims would be lost due to the statute of limitations. See Rush v.
Sport Chalet, Inc., 779 F.3d 973, 975 (9th Cir. 2015). Here, the parties have not stated any
prejudice that might result from the dropping and dismissing of the misjoined parties, and
because Plaintiffs allege that the civil rights violations at the heart of their claims are ongoing,
there does not appear to be a statute of limitations issue. The Court therefore drops the claims
asserted against Aliso Viejo, San Juan Capistrano, Irvine, and Dana Point, and dismisses those
defendants without prejudice pursuant to Federal Rule of Civil Procedure 21.

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                             Page 5 of 22
 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 6 of 22 Page ID #:1701

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

III.      Supplemental Jurisdiction

       The Court also ordered the parties to show cause why it should exercise supplemental
jurisdiction over Plaintiffs’ fourth claim for violations of California’s Housing Accountability
Act and any other claim asserted in the 1st AC that relies on state law.

       In an action over which a district court possesses original jurisdiction, that court “shall
have supplemental jurisdiction over all other claims that are so related to claims in the action
within such original jurisdiction that they form part of the same case or controversy under
Article III of the United States Constitution.” 28 U.S.C. § 1367(a). Even if supplemental
jurisdiction exists, district courts have discretion to decline to exercise supplemental jurisdiction:

                 The district courts may decline to exercise supplemental jurisdiction
                 over a claim under subsection (a) if—

                 (1)    the claim raises a novel or complex issue of State law,

                 (2)    the claim substantially predominates over the claim or claims
                        over which the district court has original jurisdiction,

                 (3)    the district court has dismissed all claims over which it has
                        original jurisdiction, or

                 (4)    in exceptional circumstances, there are other compelling
                        reasons for declining jurisdiction.

28 U.S.C. § 1367(c). The Supreme Court has described 28 U.S.C. § 1367(c) as a “codification”
of the principles of “‘economy, convenience, fairness, and comity’” that underlie the Supreme
Court’s earlier jurisprudence concerning pendent jurisdiction. City of Chicago v. Int’l Coll. of
Surgeons, 522 U.S. 156, 172-73, 118 S. Ct. 523, 533, 139 L. Ed. 2d 525 (1997) (quoting
Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 357, 108 S. Ct. 614, 623, 98 L. Ed. 2d 720
(1988)); see also United Mine Workers v. Gibbs, 383 U.S. 715, 726, 86 S. Ct. 1130, 1139, 16 L.
Ed. 2d 218 (1966) (“It has consistently been recognized that pendent jurisdiction is a doctrine of
discretion, not of plaintiff’s right. Its justification lies in considerations of judicial economy,
convenience and fairness to litigants; if these are not present a federal court should hesitate to
exercise jurisdiction over state claims, even though bound to apply state law to them. Needless
decisions of state law should be avoided both as a matter of comity and to promote justice
between the parties, by procuring for them a surer-footed reading of applicable law.”).


CV-90 (06/04)                              CIVIL MINUTES - GENERAL                             Page 6 of 22
 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 7 of 22 Page ID #:1702

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

        District courts may decline to exercise jurisdiction over supplemental state law claims
“[d]epending on a host of factors” including “the circumstances of the particular case, the nature
of the state law claims, the character of the governing state law, and the relationship between the
state and federal claims.” City of Chicago, 522 U.S. at 173, 118 S. Ct. at 534, 139 L. Ed. 2d
525. The supplemental jurisdiction statute “reflects the understanding that, when deciding
whether to exercise supplemental jurisdiction, ‘a federal court should consider and weigh in each
case, and at every stage of the litigation, the values of judicial economy, convenience, fairness,
and comity.’” Id. (quoting Cohill, 484 U.S. at 350, 108 S. Ct. at 619, 98 L. Ed. 2d 720).

        The Ninth Circuit does not require an “explanation for a district court’s reasons [for
declining supplemental jurisdiction] when the district court acts under” 28 U.S.C. §§ 1367(c)(1)-
(3), San Pedro Hotel Co. v. City of Los Angeles, 159 F.3d 470, 478 (9th Cir. 1998), but does
require a district court to “articulate why the circumstances of the case are exceptional in
addition to inquiring whether the balance of the Gibbs values provide compelling reasons for
declining jurisdiction in such circumstances.” Executive Software N. Am. Inc. v. U.S. Dist.
Court for the Cent. Dist. of Cal., 24 F.3d 1545, 1558 (9th Cir. 1994). According to the Ninth
Circuit, this “inquiry is not particularly burdensome.” Id. When declining to exercise
supplemental jurisdiction under 28 U.S.C. § 1367(c)(4), “the court must identify the predicate
that triggers the applicability of the category (the exceptional circumstances), and then determine
whether, in its judgment, the underlying Gibbs values are best served by declining jurisdiction in
the particular case (the compelling reasons).” Id.

        The 1st AC’s fourth, sixth, eighth, and ninth claims all allege, at least in part, claims
based on California law. The fourth claim, which asserts a claim pursuant to California Civil
Code section 815.6, confusingly relies on both the constitutional claims that form the basis for
the 1st AC’s first, second, and third claims, brought under 42 U.S.C. § 1983, with an attempt to
enforce California’s Housing Accountability Act and the requirements of California Government
Code sections 65580-65589.11. The sixth claim, brought pursuant to California’s Bane Act, Cal.
Civ. Code § 52.1, and eighth claim, brought pursuant to California Government Code section
11135, appear to rely on the same allegations of civil rights violations as the 1st AC’s federal
claims. The ninth claim is brought as a “taxpayers’ suit” pursuant to California Civil Procedure
Code section 526a.

        At least at this stage, the Court will continue to exercise supplemental jurisdiction over
the 1st AC’s sixth and eighth claims. The Court will also continue to exercise supplemental
jurisdiction over the 1st AC’s fourth claim to the extent it is relying on the same provisions of




CV-90 (06/04)                              CIVIL MINUTES - GENERAL                             Page 7 of 22
 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 8 of 22 Page ID #:1703

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
     Case No.   SA CV 19-388 PA (JDEx)                                          Date   August 12, 2019
     Title      Housing is a Human Right Orange County, et al. v. County of Orange, et al.

constitutional and statutory civil rights protections underlying Plaintiffs’ federal claims.1/ The
Court, in the exercise of its discretion, declines to exercise supplemental jurisdiction over the
fourth claim to the extent it seeks to enforce the Housing Accountability Act or the ninth claim
brought as a taxpayers’ suit.

        Specifically, the Court concludes that resolution of the Housing Accountability Act claim
would require significant analysis of zoning, general plan, and other issues that are distinct from
the federal constitutional and statutory civil rights claims over which the Court possesses
original jurisdiction. The Housing Accountability Act is also part of a detailed state regulatory
scheme involving the relationship between both the State of California and its municipalities and
between the municipalities themselves that, in our federal system, are the proper subject of state
rather than federal judicial review. Indeed, according to the 1st AC, plaintiff ESC has already
been involved in litigation concerning San Clemente’s violations of the Housing Accountability
Act in the Orange County Superior Court. (1st AC ¶ 84.) The Court additionally notes that
Moving Defendants state in their Motion to Dismiss that “it is far from clear that a direct
challenge to the housing element could be filed in federal court at all: The statue appears to
contemplate exclusive enforcement through a writ of mandate sought in state court.” (Docket
No. 72 at 16:1-4 (citing Cal. Gov’ t Code § 65751); see also Docket No. 87 at 7:20-21 (“At
every turn, Plaintiffs’ novel use of the Tort Claims Act [as a vehicle to enforce the Housing
Accountability Act] fails as a matter of law.”).

      The 1st AC’s ninth claim is brought pursuant to California Civil Procedure Code section
526a, which provides:

                 An action to obtain a judgment, restraining and preventing any
                 illegal expenditure of, waste of, or injury to, the estate, funds, or
                 other property of a local agency, may be maintained against any
                 officer thereof, or any agent, or other person acting in its behalf,
                 either by a resident therein, or by a corporation, who is assessed for
                 and is liable to pay, or within one year before the commencement of
                 the action, has paid, a tax that funds the defendant local agency . . . .



1/
         Although the Court is, at this stage, continuing to exercise supplemental jurisdiction over these
claims, the Court notifies the parties that, to avoid juror confusion and in the interests of comity and
federalism, it is the Court’s usual practice in actions alleging both federal and state civil rights claims, to
try the federal claims, sever the state law claims for trial, and then decline to exercise supplemental
jurisdiction over the remaining state law claims. The Court has not, however, made a determination that
it will adopt this practice in this action.
CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                    Page 8 of 22
 Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 9 of 22 Page ID #:1704

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

Cal. Civ. Proc. Code § 526a. The basis for, and relief sought in, this claim appears to shift
throughout both the 1st AC and Plaintiffs’ Opposition to Moving Defendants’ Motion to
Dismiss. At times, Plaintiffs appear to have the Court review the legality of San Clemente’s
spending decisions. At other times, Plaintiffs appear to rely on the taxpayers’ suit claim only to
bolster their standing allegations. To the extent Plaintiffs rely on the taxpayers’ suit claim to
support their standing to pursue their claims, the Ninth Circuit has already determined that
California Civil Procedure Code section 526a “does not suffice under Article III to demonstrate
an injury in fact” for federal standing purposes. Cantrell v. City of Long Beach, 241 F.3d 674,
684 (9th Cir. 2001). Moreover, to the extent Plaintiffs seek to have this Court review San
Clemente’s decisions concerning the manner in which it spends public funds, as opposed to
award damages or enjoin further civil rights violations should Plaintiffs prevail on a claim that
entitles them to damages or injunctive relief, such a claim raises federalism concerns and would
require the Court to involve itself in factual and legal matters that are far different from the civil
rights claims over which the Court possesses original jurisdiction.

        The Court therefore concludes that the Housing Accountability Act and taxpayers’ suit
claims raise “novel and complex” issues of California law and substantially predominate over
the claims over which the Court possesses original jurisdiction. See 28 U.S.C. §§
1367(c)(1)-(c)(2). The existence of prior related litigation in the Orange County Superior Court
and the detailed regulatory requirements contained within the Housing Accountability Act claim
also present extraordinary circumstances and compelling reasons for the Court to decline
supplemental jurisdiction over that claim pursuant to 28 U.S.C. § 1367(c)(4). Declining to
exercise supplemental jurisdiction over both of these claims is consistent with the interests of
economy, convenience, fairness, and comity. The Court therefore declines to exercise
supplemental jurisdiction over the 1st AC’s fourth claim to the extent it seeks to enforce the
Housing Accountability Act and ninth claim and dismisses those claims without prejudice.

IV.       Motion to Dismiss

          A.     Legal Standards

                 1.     Federal Rule of Civil Procedure 12(b)(1)

       Article III of the United States Constitution requires that a litigant have standing to
invoke the power of a federal court. Because Article III’s standing requirements limit subject
matter jurisdiction, a plaintiff’s standing to pursue a claim is properly challenged by a Federal
Rule of Civil Procedure 12(b)(1) motion to dismiss. See Chandler v. State Farm Mut. Auto. Ins.
Co., 598 F.3d 1115, 1121-22 (9th Cir. 2010). For the purpose of ruling on a motion to dismiss
for lack of standing, the Court must accept as true all material allegations of the complaint and

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                             Page 9 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 10 of 22 Page ID #:1705

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

must construe the complaint in favor of the complaining party. Maya v. Centex Corp., 658 F.3d
1060, 1068 (9th Cir. 2011).

        Rule 12(b)(1) jurisdictional attacks can be either facial or factual. In a facial attack, the
allegations are presumed true and the “challenger asserts that the[y] are insufficient on their face
to invoke federal jurisdiction.” Safe Air For Everyone v. Meyer, 373 F. 3d 1035, 1039 (9th Cir.
2004). “By contrast, in a factual attack, the challenger disputes the truth of the allegations that,
by themselves, would otherwise invoke federal jurisdiction.” Id. Courts should refrain from
resolving factual issues where “the jurisdictional issue and substantive issues are so intertwined
that the question of jurisdiction is dependent on the resolution of factual issues going to the
merits.” Augustine v. United States, 704 F.2d 1074, 1077 (9th Cir. 1983); see also Safe Air, 373
F. 3d at 1039; Williston Basin Interstate Pipeline Co. v. An Exclusive Gas Storage Leasehold &
Easement, 524 F. 3d 1090, 1094 (9th Cir. 2008) (“As a general rule, when ‘the question of
jurisdiction and the merits of the action are intertwined,’ dismissal for lack of subject matter
jurisdiction is improper.”).

       The Supreme Court has held that to have standing under the Constitution, a party must
show it has suffered an “injury in fact,” that there is a “causal connection between the injury”
and the defendant’s complained-of conduct, and that it is likely “that the injury will be redressed
by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61, 112 S. Ct.
2130, 2136–37, 119 L. Ed. 2d 351 (1992). In Spokeo v. Robins, __ U.S. __, 136 S. Ct. 1540,
194 L. Ed. 2d 635 (2016), the Supreme Court explained:

                 Our cases have established that the “irreducible constitutional
                 minimum” of standing consists of three elements. The plaintiff must
                 have (1) suffered an injury in fact, (2) that is fairly traceable to the
                 challenged conduct of the defendant, and (3) that is likely to be
                 redressed by a favorable judicial decision. The plaintiff, as the party
                 invoking federal jurisdiction, bears the burden of establishing these
                 elements.

136 S. Ct. at 1547. At the pleading stage, “the plaintiff must ‘clearly . . . allege facts
demonstrating’ each element.” Id. (quoting Warth v. Seldin, 422 U.S. 490, 518, 95 S. Ct. 2197,
2215, 45 L. Ed. 2d 343 (1975)).

       To demonstrate an “injury in fact,” a plaintiff must establish an “invasion of a legally
protected interest which is (a) concrete and particularized [citations] and (b) ‘actual or imminent,
not “conjectural” or ‘hypothetical.’” Lujan, 504 U.S. at 560, 112 S. Ct. at 2136 (citations
omitted). An organization has “‘direct standing to sue [when] it show[s] a drain on its resources

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 10 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 11 of 22 Page ID #:1706

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

from both a diversion of its resources and frustration of its mission.’” Fair Hous. Council of San
Fernando Valley v. Roommate.com, LLC, 666 F.3d 1216, 1219 (9th Cir. 2012) (quoting Fair
Hous. of Marin v. Combs, 285 F.3d 899, 905 (9th Cir. 2002)). An organization “cannot
manufacture the injury by incurring litigation costs or simply choosing to spend money fixing a
problem that otherwise would not affect the organization at all. It must instead show that it
would have suffered some other injury if it had not diverted resources to counteracting the
problem.” La Asociacion de Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083,
1088 (9th Cir. 2010).

                 2.     Federal Rule of Civil Procedure 12(b)(6)

        Generally, plaintiffs in federal court are required to give only “a short and plain statement
of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). While the
Federal Rules allow a court to dismiss a cause of action for “failure to state a claim upon which
relief can be granted,” they also require all pleadings to be “construed so as to do justice.” Fed.
R. Civ. P. 12(b)(6), 8(e). The purpose of Rule 8(a)(2) is to “‘give the defendant fair notice of
what the . . . claim is and the grounds upon which it rests.’” Bell Atlantic Corp. v. Twombly,
550 U.S. 544, 555, 127 S. Ct. 1955, 1964, 167 L. Ed. 2d 929 (2007) (quoting Conley v. Gibson,
355 U.S. 41, 47, 78 S. Ct. 99, 103, 2 L. Ed. 2d 80 (1957)). The Ninth Circuit is particularly
hostile to motions to dismiss under Rule 12(b)(6). See, e.g., Gilligan v. Jamco Dev. Corp. , 108
F.3d 246, 248-49 (9th Cir. 1997) (“The Rule 8 standard contains a powerful presumption against
rejecting pleadings for failure to state a claim.”) (internal quotation omitted).

        However, in Twombly, the Supreme Court rejected the notion that “a wholly conclusory
statement of a claim would survive a motion to dismiss whenever the pleadings left open the
possibility that a plaintiff might later establish some set of undisclosed facts to support
recovery.” Twombly, 550 U.S. at 561, 127 S. Ct. at 1968 (internal quotation omitted). Instead,
the Court adopted a “plausibility standard,” in which the complaint must “raise a reasonable
expectation that discovery will reveal evidence of [the alleged infraction].” Id. at 556, 127 S. Ct.
at 1965. For a complaint to meet this standard, the “[f]actual allegations must be enough to raise
a right to relief above the speculative level.” Id. at 555, 127 S. Ct. at 1965 (citing 5 C. Wright &
A. Miller, Federal Practice and Procedure §1216, pp. 235-36 (3d ed. 2004) (“[T]he pleading
must contain something more . . . than . . . a statement of facts that merely creates a suspicion
[of] a legally cognizable right of action”) (alteration in original)); Daniel v. County of Santa
Barbara, 288 F.3d 375, 380 (9th Cir. 2002) (“‘All allegations of material fact are taken as true
and construed in the light most favorable to the nonmoving party.’”) (quoting Burgert v.
Lokelani Bernice Pauahi Bishop Trust, 200 F.3d 661, 663 (9th Cir. 2000)). “[A] plaintiff’s
obligation to provide the grounds of his entitlement to relief requires more than labels and
conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 11 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 12 of 22 Page ID #:1707

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

Twombly, 550 U.S. at 555, 127 S. Ct. at 1964-65 (internal quotations omitted). In construing
the Twombly standard, the Supreme Court has advised that “a court considering a motion to
dismiss can choose to begin by identifying pleadings that, because they are no more than
conclusions, are not entitled to the assumption of truth. While legal conclusions can provide the
framework of a complaint, they must be supported by factual allegations. When there are
well-pleaded factual allegations, a court should assume their veracity and then determine
whether they plausibly give rise to an entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662,
679, 129 S. Ct. 1937, 1950, 173 L. Ed. 2d 868 (2009).

          B.     Analysis

        Because the Court has dropped all of the defendants except San Clemente and the
County, the Court will analyze the sufficiency of the 1st AC’s claims against only San Clemente.
San Clemente challenges the sufficiency of each of the 1st AC’s claims asserted against it and
the standing of the organizational plaintiffs. San Clemente does not, in this Motion to Dismiss,
challenge the standing of Duane Nichols and Darren James, both of whom are alleged to be
individuals experiencing homelessness who reside in San Clemente, or otherwise challenge the
Court’s jurisdiction to assess the sufficiency of the substantive claims alleged in the 1st AC over
which the Court possesses original jurisdiction and is exercising supplemental jurisdiction.
Because it would be unnecessary to assess whether the organizations have standing if the claims
fail as a matter of law and leave to amend would be futile, the Court will first address whether
the claims are viable before addressing the standing issue.

                 1.     Constitutional Claims

        The 1st AC asserts six claims for violations of federal and state constitutional rights over
which the Court possesses original jurisdiction and, at this stage, has elected to exercise
supplemental jurisdiction. Those claims are: (1) the first claim for violations of the Eighth and
Fourteenth Amendments pursuant to 42 U.S.C. § 1983; (2) the second claim for violations of the
First and Fourth Amendments pursuant to 42 U.S.C. § 1983; (3) the third claim for violations of
the Due Process Clause of the Fourteenth Amendment pursuant to 42 U.S.C. § 1983; (4) the
fourth claim for liability pursuant to California Civil Code section 815.6 for violating the
Fourteenth Amendment, Article I, section 7 of the California Constitution, and California Civil
Code section 52.1 (but not the portions of that claim alleging violations of the Housing
Accountability Act over which the Court has declined to exercise supplemental jurisdiction); (5)
the sixth claim for violations of California Civil Code section 52.1; and (6) the seventh claim for
violations of the Due Process Clauses of the Fifth and Fourteenth Amendments pursuant to 42
U.S.C. § 1983 and Article I, section 7 of the California Constitution brought only on behalf of
plaintiff Darren James.

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 12 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 13 of 22 Page ID #:1708

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

                        a.      Eighth Amendment Claim

         In Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019), the Ninth Circuit concluded that
“the Eighth Amendment prohibits the imposition of criminal penalties for sitting, sleeping, or
lying outside on public property for homeless individuals who cannot obtain shelter.” Id. at 616.
The Ninth Circuit stated that “just as the state may not criminalize the state of being ‘homeless
in public places,’ the state may not ‘criminalize conduct that is an unavoidable consequence of
being homeless — namely sitting, lying, or sleeping on the streets.’” Id. at 617 (quoting Jones v.
City of Los Angeles, 444 F.3d 1118, 1137 (9th Cir. 2006), vacated, 505 F.3d 1006 (2007)). The
Ninth Circuit clarified, however, that its “holding is a narrow one” and “‘we in no way dictate to
the City that it must provide sufficient shelter for the homeless, or allow anyone who wishes to
sit, lie, or sleep on the streets . . . at any time and at any place.’” Id. (quoting Jones, 444 F.3d at
1138). As the Ninth Circuit panel explained:

                 Naturally, our holding does not cover individuals who do have
                 access to adequate temporary shelter, whether because they have the
                 means to pay for it or because it is realistically available to them for
                 free, but who choose not to use it. Nor do we suggest that a
                 jurisdiction with insufficient shelter can never criminalize the act of
                 sleeping outside. Even where shelter is unavailable, an ordinance
                 prohibiting sitting, lying, or sleeping outside at particular times or in
                 particular locations might well be constitutionally permissible. See
                 Jones, 444 F.3d at 1123. So, too, might an ordinance barring the
                 obstruction of public rights of way or the erection of certain
                 structures. Whether some other ordinance is consistent with the
                 Eighth Amendment will depend, as here, on whether it punishes a
                 person for lacking the means to live out the “universal and
                 unavoidable consequences of being human” in the way the ordinance
                 prescribes. Id. at 1136.

Id. at 617 n.8. According to the Ninth Circuit, “as long as there is no option of sleeping indoors,
the government cannot criminalize indigent, homeless people for sleeping outdoors, on public
property, on the false premise they had a choice in the matter.” Id. at 617.

      In February 2018, the San Clemente City Council adopted as part of the City’s municipal
code an “anti-camping” ordinance. The anti-camping ordinance provided:

                 Except as otherwise provided by this code or by resolution of the
                 City Council, it is unlawful [for] any person to engage in camping:

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 13 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 14 of 22 Page ID #:1709

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

                 A.     Upon any land or easement owned, operated, or managed by
                        the City;

                 B.     Upon any land for which the . . . Zoning, the General Plan, or
                        a specific plan designates as private open space and prohibits
                        camping; and

                 C.     Upon any land designated by the Fire Chief as a fire risk area.
                        Fire risk areas include, but, are not limited to, areas in or near
                        a very high fire hazard severity zone identified by the City or
                        by the California Department of Forestry and Fire Protections,
                        areas in or near a wildland-urban interface, and areas in or
                        near to a heightened fire rating by the Orange County Fire
                        Authority.

San Clemente Municipal Code (“SCMC”) § 8.86.010. The SCMC defines “camping” to mean
“to pitch or occupy camp facilities or to use camp paraphernalia,” defines “camp facilities” to
include “tents, huts, or other temporary shelters,” and defines “camp paraphernalia” to include
“tarpaulins, cots, beds, sleeping bags, hammocks, non-City designated cooking facilities, or
similar equipment.” Id.

      Following the Ninth Circuit’s issuance of its initial opinion in City of Boise in September
2018, San Clemente enacted an ordinance in March 2019 providing:

                 Absent exigent circumstances relating to immediate threats to the
                 public health, safety, or welfare, the provisions of this chapter will
                 not be enforced against indigent homeless persons sitting, lying, or
                 sleeping on public property when no alternative shelter is available
                 in accordance with the holding in Martin v. City of Boise, (9th Cir.
                 2018) 902 F.3d 1031.

SCMC § 8.86.040.

      Plaintiffs filed the 1st AC on May 13, 2019. Eight days later, on May 21, 2019, the San
Clemente City Council unanimously enacted an “urgency ordinance” to modify the City’s anti-
camping ordinance. According to the urgency ordinance:

                 Section 3.    The City Council hereby finds pursuant to SCMC
                 Section 8.86.040 that “exigent circumstances relating to immediate

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 14 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 15 of 22 Page ID #:1710

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

                 threats to the public health, safety, or welfare” require enforcement
                 against all persons (including indigent homeless persons) of the
                 provisions of SCMC Chapter 8.86 (prohibiting camping on public
                 property), except that such enforcement shall not be brought against
                 persons camping on public property designated for such purposes
                 pursuant to Section 4 of this Ordinance.

                 Section 4.     That the City property designated in Attachment 1
                 hereto is hereby made available as the sole public area in the City
                 available for camping purposes by those persons experiencing
                 homelessness or otherwise unable to obtain shelter.

                 Section 5.    Under the direction of the City Manager, the City may
                 adopt rules and regulations for the occupancy, use, and operation of
                 the camping area and conduct therein and shall circulate and post
                 said rules and regulations at the area.

(Docket 72-2, Ex. 3.) Through the urgency ordinance, the City designated an approximately
0.31 acre portion of vacant lot adjacent to the City’s water reclamation plant as a “temporary
campground” at which unhoused individuals could camp without risk of violating the anti-
camping ordinance. The City relocated individuals without homes to the temporary campground
on May 24, 2019.

        Because Plaintiffs filed the 1st AC before San Clemente enacted the urgency ordinance,
the 1st AC does not include any allegations about the urgency ordinance. Although San
Clemente urges the Court to “make clear [in any order granting Plaintiffs leave to amend] that
the Urgency Ordinance is constitutional on its face,” the Court declines San Clemente’s
invitation to issue an advisory opinion on an ordinance and whatever supporting facts Plaintiffs
might allege in a Second Amended Complaint based on a 1st AC that does not contain any such
allegations. The Court therefore dismisses the 1st AC’s first claim for violations of the Eighth
Amendment with leave to amend.

        San Clemente also challenges the sufficiency of the individual plaintiffs’ claims for
damages for violations of their Eighth Amendment rights. According to San Clemente, because
the 1st AC does not allege that San Clemente has ever cited either Duane Nichols or Darren
James for violations of the anti-camping ordinance, the individuals have not suffered a violation
of their constitutional rights, see West v. Atkins, 487 U.S. 42, 48, 108 S. Ct. 2250, 2254-55, 101
L. Ed. 2d 420 (1981) (“To state a claim under § 1983, a plaintiff must allege a violation of a
right secured by the Constitution and laws of the United States, and must show that the alleged

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 15 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 16 of 22 Page ID #:1711

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
     Case No.   SA CV 19-388 PA (JDEx)                                       Date    August 12, 2019
     Title      Housing is a Human Right Orange County, et al. v. County of Orange, et al.

deprivation was committed by a person acting under color of state law.”), and have therefore
failed to state a claim for retrospective relief, even if they may, eventually, be able to state a
claim for prospective relief. See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158-59, 134
S. Ct. 2334, 2342, 189 L. Ed. 2d 246 (2014) (“One recurring issue in our cases is determining
when the threatened enforcement of a law creates an Article III injury. When an individual is
subject to such a threat, an actual arrest, prosecution, or other enforcement action is not a
prerequisite to challenging the law. . . . Instead, we have permitted pre-enforcement review
under circumstances that render the threatened enforcement sufficiently imminent.”). Plaintiffs,
however, contend that they are entitled to damages because they have been threatened with
arrest. (1st AC ¶¶ 89-90, 92.) The 1st AC’s allegations of threats are insufficient to state a
claim for damages. See Gaut v. Sunn, 810 F.2d 923, 925 (9th Cir. 1987) (“A mere threat . . .
trivializes the eighth amendment to believe a threat constitutes a constitutional wrong. . . . We
find no case that squarely holds a threat to do an act prohibited by the Constitution is equivalent
to doing the act itself.”). The Court concludes that the 1st AC fails to allege sufficient facts to
support the individual plaintiffs’ claims for damages. The Court therefore dismisses that claim
with leave to amend.2/

        Finally, the Court notes that plaintiff OCCW recently entered into a settlement agreement
with the County to resolve claims in the related action, Orange County Catholic Worker v.
Orange County, Case No. SA CV 18-155 DOC (JDEx) (Docket No. 318). It is unclear what
effect that settlement has on Plaintiffs’ claims against the County in this action. In any future
Complaint, Plaintiffs shall clearly delineate the claims and legal theories Plaintiffs allege against
the County and the factual circumstances supporting any such claims.

                        b.      First and Fourth Amendment Claims

       The 1st AC’s second claim alleges claims pursuant to 42 U.S.C. § 1983 for violations of
the First and Fourth Amendments. In support of this claim, the 1st AC alleges:

                 On information and belief, each of the Defendants, through their
                 employees and agents, ordered individuals in their respective
                 jurisdictions who appear to law enforcement to be homeless to move
                 along from public places where they have a right to be pursuant to
                 the First Amendment. The detentions and interrogations constitute
                 an unlawful seizure as they were done without reasonable suspicion
                 or probable cause to believe that the individual had or was about to

2/
        To the extent the individual plaintiffs also seek damages under their other constitutional claims,
those claims fail for the same reason and are, similarly, dismissed with leave to amend.
CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                Page 16 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 17 of 22 Page ID #:1712

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
     Case No.   SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
     Title      Housing is a Human Right Orange County, et al. v. County of Orange, et al.

                 commit a crime other than a purported violation of a law necessitated
                 by their status as homeless individuals plus the lack of available
                 shelter. Plaintiffs, as everyone else, have a First Amendment right to
                 be present in a public space, to “loiter” in a public space for no
                 reason and to not be excluded from that space by threat, intimidation
                 or coercion for alleged crimes directly related to their status as
                 individuals experiencing homelessness who have no place to live
                 other than in public spaces.

(1st AC ¶ 114.) The Court concludes that these conclusory allegations are insufficient to state a
viable claim under either the First or Fourth Amendments. The 1st AC does not contain well-
pleaded allegations of a First Amendment violation of expressive or associational conduct. See
Roulette v. City of Seattle, 97 F.3d 300, 305 (9th Cir. 1996) (“By its terms, the ordinance here
prohibits only sitting or lying on the sidewalk. . . . [T]hese are not forms of conduct integral to,
or commonly associated with, expression. We therefore reject plaintiffs’ [First Amendment]
facial attack on the ordinance.”).3/ Nor does the 1st AC allege well-pleaded facts of an
unconstitutional seizure or other conduct that violates the Fourth Amendment. See Florida v.
Bostick, 501 U.S. 429, 434, 111 S. Ct. 2382, 2386, 115 L. Ed. 2d 389 (1991) (“Our cases make it
clear that a seizure does not occur simply because a police officer approaches an individual and
asks a few questions. . . . [W]e have held repeatedly that mere police questioning does not
constitute a seizure.”); see also Terry v. Ohio, 392 U.S. 1, 88 S. Ct. 1879, 20 L. Ed. 2d 889
(1968). The Court therefore dismisses the 1st AC’s second claim with leave to amend.

                        c.      Fourteenth Amendment Claim

       The 1st AC’s third claim for violations of the Fourteenth Amendment alleges that
“Defendants’ laws violate the Fourteenth Amendment because they are so vague as to be
impossible to comply with.” (1st AC ¶ 118.) The 1st AC also alleges that “the failure and
refusal of the Defendants, and each of them, to comply with the mandatory duty to provide for
the needs of the class members to stay where they are protected from the adverse weather
elements, puts them in immediate danger and constitutes a state-created danger to a community
that predominantly suffers from one or more significant disabilities.” (Id. at ¶ 120.)




3/
        Plaintiffs’ reliance on Justin v. City of Los Angeles, Case No. CV 00-12352 LGB (AIJx), 200
WL 1808426, at *11 (C.D. Cal. Dec. 5, 2000), is unpersuasive. Justin, which was issued on an ex parte
application for temporary restraining order, contains no discussion or citations to authority concerning
the First Amendment.
CV-90 (06/04)                              CIVIL MINUTES - GENERAL                              Page 17 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 18 of 22 Page ID #:1713

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

        “[T]he Fourteenth Amendment’s Due Process Clause generally does not confer any
affirmative right to governmental aid, even where such aid may be necessary to secure life,
liberty, or property interests.” Patel v. Kent Sch. Dist., 648 F.3d 965, 971 (9th Cir. 2011). One
exception to this rule is “when the state affirmatively places the plaintiff in danger by acting with
‘deliberate indifference’ to a known or obvious danger’ (the state-created danger exception).”
Id. at 971-72. “Deliberate indifference is a ‘stringent standard of fault, requiring proof that a
municipal actor disregarded a known or obvious consequence of his action.’” Id. at 974 (quoting
Bryan Cty. v. Brown, 520 U.S. 397, 410, 117 S. Ct. 1382, 137 L. Ed. 2d 626 (1997)). According
to the Ninth Circuit, the deliberate indifference standard is satisfied when “the defendant knows
that something is going to happen but ignores the risk and exposes someone to it.” L.W. v.
Grubbs, 92 F.3d 894, 900 (9th Cir. 1996). The state-created danger “exception applies only
where there is ‘affirmative conduct on the part of the state in placing the plaintiff in danger.’”
Patel, 648 F.3d at 974 (quoting Munger v. City of Glasgow, 227 F.3d 1082, 1086 (9th Cir.
2000)).

        Because San Clemente’s urgency ordinance was enacted after Plaintiffs filed the 1st AC,
Plaintiffs have no well-pleaded allegations concerning the alleged vagueness of the operative
ordinance. Nor does the 1st AC otherwise state sufficient well-pleaded allegations against San
Clemente on Plaintiffs’ state-created danger theory. See Cobine v. City of Eureka, 250 F. Supp.
3d 423, 433 (N.D. Cal. 2017) (dismissing with leave to amend a Due Process Clause claim
brought by plaintiffs who failed to satisfactorily allege deliberate indifference where homeless
individuals were removed from one area but permitted to sleep in a City-owned parking lot or
offered temporary emergency shelter). Plaintiffs have not sufficiently alleged well-pleaded facts
plausibly suggesting that the City has taken the type of affirmative steps to place an individual in
a known and likely danger to satisfy the deliberate indifference standard. Additionally, the
difficulties the homeless individuals camping at the temporary campground may face are largely
identical to those they would face while camping elsewhere in the City. See id. (“In the absence
of particular allegations that the state action put the Plaintiffs in an inherently dangerous
situation, the Court is bound to find that the generalized dangers of living on the street preexisted
Plaintiffs’ relocation . . . .”). The Court therefore dismisses this claim with leave to amend.

                        d.      Darren James’ Individual Claim for Violations of the Fifth and
                                Fourteenth Amendments

       The 1st AC’s seventh claim is brought on behalf of only Darren James against San
Clemente. James alleges that in early February 2019, “all of his possessions were taken from the
location where he left them daily for two years. He approached a person in the area that he
understood to be a [San Clemente] City employee, asked about his possessions, and was
informed that the City did not retain the property.” (1st AC ¶ 91.)

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 18 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 19 of 22 Page ID #:1714

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

        “[A] local government may not be sued under § 1983 for an injury inflicted solely by its
employees or agents. Instead, it is when execution of a government’s policy or custom, whether
made by its lawmakers or by those whose edicts or acts may fairly be said to represent official
policy, inflicts the injury that the government as an entity is responsible under § 1983.” Monell
v. New York City Dept. of Soc. Servs., 436 U.S. 658, 694, 98 S. Ct. 2018, 2037-38, 56 L. Ed. 2d
611 (1978); see also id. at 691, 98 S. Ct. at 2036 (“[A] municipality cannot be held liable under §
1983 on a respondeat superior theory.”). “There are three ways to show a policy or custom of a
municipality: (1) by showing ‘a longstanding practice or custom which constitutes the ‘standard
operating procedure’ of the local government entity;’ (2) ‘by showing that the decision-making
official was, as a matter of state law, a final policymaking authority whose edicts or acts may
fairly be said to represent official policy in the area of decision;’ or (3) ‘by showing that an
official with final policymaking authority either delegated that authority to, or ratified the
decision of, a subordinate.’” Menotti v. City of Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005)
(quoting Ulrich v. City & County of San Francisco, 308 F.3d 968, 984-85 (9th Cir. 2002)).

        In the absence of a specific unconstitutional custom or policy, a plaintiff may attempt to
impose liability on a municipality for a constitutional injury through a second route to municipal
liability:

                 [A] plaintiff need not allege that the municipality itself violated
                 someone’s constitutional rights or directed one of its employees to
                 do so. Instead, a plaintiff can allege that through its omissions the
                 municipality is responsible for a constitutional violation committed
                 by one of its employees, even though the municipality’s policies
                 were facially constitutional, the municipality did not direct the
                 employee to take the unconstitutional action, and the municipality
                 did not have the state of mind required to prove the underlying
                 violation.

Gibson v. County of Washoe, 290 F.3d 1175, 1186 (9th Cir. 2002) (citing City of Canton v.
Harris, 489 U.S. 378, 387-89, 109 S. Ct. 1197, 1204-05, 103 L. Ed. 2d 412 (1989)). Under this
second route to municipal liability, a plaintiff must show: (1) that a municipal employee
violated the plaintiff’s rights; (2) that the municipality has customs or policies that amount to
deliberate indifference (as that phrase is defined by Canton, 489 U.S. at 387, 109 S. Ct. at 1204);
and (3) that these policies were the moving force behind the violation of the plaintiff’s
constitutional rights, in the sense that the municipality could have prevented the violation with
an appropriate policy. See Gibson, 290 F.3d at 1193. Under either method of establishing
municipal liability, an official policy or custom cannot be established by random acts or isolated
events. Thompson v. City of Los Angeles, 885 F.2d 1439, 1443–44 (9th Cir. 1989).

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 19 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 20 of 22 Page ID #:1715

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

        Here, even assuming that James has plausibly alleged that someone employed by San
Clemente took James’ property in violation of his Fifth and Fourteenth Amendment rights, the
1st AC does not allege any well-pleaded facts that San Clemente maintains an unconstitutional
policy or custom. Indeed, San Clemente has requested that the Court take judicial notice of its
ordinance that allows San Clemente to impound property that is left unattended for more than 24
hours and allows the owner of the property to recover it thereafter. See SCMC § 8.86.020. In
reviewing the 1st AC’s allegations, the Court concludes that James does not allege well-pleaded
facts that San Clemente has a policy that amounts to deliberate indifference. Instead, at most,
James alleges that, on a single occasion, San Clemente took his belongings. Because the 1st AC
alleges only an isolated event, James’ Monell claim against San Clemente fails to allege
sufficient well-pleaded facts to state a viable claim. See Thompson, 885 F.2d at 1443-44. The
Court therefore dismisses this claim with leave to amend.

                        e.      Derivative State Law Constitutional Claims

        To the extent the 1st AC’s fourth claim for liability pursuant to California Civil Code
section 815.6 and sixth claim for constitutional violations pursuant to California Civil Code
section 52.1 seek to enforce the constitutional claims Plaintiffs’ assert in their first through third
claims (as opposed to those portions of the fourth claim seeking to enforce the Housing
Accountability Act over which the Court has declined to exercise supplemental jurisdiction),
those claims are derivative of the underlying constitutional claims and fail to state viable claims
for the same reasons already identified by the Court. The Court therefore dismisses the fourth
and sixth claims with leave to amend. Plaintiffs do not have leave to amend to reassert the
Housing Accountability Act claim in this action.

                 2.     Disability Discrimination Claims

        The 1st AC’s fifth claim alleges violations of the ADA and the eighth claim asserts a
claim for disability discrimination under California Government Code section 11135. According
to the 1st AC, “Defendants . . . have failed to provide for the needs of disabled homeless
individuals in their jurisdictions and have, instead, offered services that fail to provide
reasonable accommodations to people experiencing homelessness . . . .” (1st AC ¶ 130.) In
their Opposition to the Motion to Dismiss, Plaintiffs ask for leave to amend “to clarify the
Americans with Disabilities Act claims” and to add facts concerning the ways in which San
Clemente’s temporary campground violates the ADA. (Docket No. 84 at 13:14-18.)

       The ADA does not impose upon a municipality an obligation “to create new programs
that provide heretofore unprovided services to assist disabled persons. . . . Nor, ordinarily, must
public entities make modifications that would fundamentally alter existing programs and

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 20 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 21 of 22 Page ID #:1716

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

services administered pursuant to policies that do not facially discriminate against the disabled.”
Townsend v. Quasim, 328 F.3d 511, 518 (9th Cir. 2003). Instead, “entities are required only to
make reasonable changes in existing policies in order to accommodate individuals’ disabilities.”
Id. The 1st AC does not identify any specific programs or services provided by San Clemente or
state well-pleaded facts alleging that any such programs or services fail to provide reasonable
accommodations. The facts Plaintiffs wish to add concerning the alleged ADA violations at the
temporary campground were not available to them when they filed the 1st AC. The Court
therefore dismisses the fifth and eighth claims with leave to amend.

                 3.     Organizational Standing

        Because the Court has concluded that it will dismiss the substantive constitutional and
disability discrimination claims, it will address San Clemente’s contention that HHROC,
OCCW, and ESC have failed to allege sufficient facts to support their standing to pursue the
claims asserted in the 1st AC. Specifically, San Clemente correctly states that the 1st AC
contains no well-pleaded allegations explaining how San Clemente’s actions and omissions have
caused a drain on the resources “from both a diversion of its resources and frustration of its
mission” for OCCW and ESC. Fair Hous. Council of San Fernando Valley, 666 F.3d at 1219.
The 1st AC does allege that HHROC “is required to shift and expend resources to providing
immediate direct services . . . and redirected its time and money from its primary focus of
achieving supportive, affordable and permanent housing for people experiencing homelessness
in the County.” (1st AC ¶ 81.) As San Clemente observes, however, Plaintiffs have not alleged
that San Clemente has an affirmative constitutional obligation to provide shelter to individuals
experiencing homelessness, so it is unclear how the enforcement of an anti-camping ordinance,
or the creation of the temporary campground, causes an injury to the organizations. Nor do the
organizational plaintiffs allege an injury or otherwise explain how they have standing to pursue
the disability discrimination claims alleged in the 1st AC. At a minimum, the 1st AC’s
conclusory allegations do not adequately allege the “causal connection between the injury” and
the defendant’s complained-of conduct, or that it is likely “that the injury will be redressed by a
favorable decision.” Lujan, 504 U.S. at 560-61, 112 S. Ct. at 2136–37, 119 L. Ed. 2d 351. Nor
do the organizational standing allegations contained in the 1st AC satisfy Plaintiffs’ burden to
“clearly allege” facts demonstrating each element of standing. Spokeo, 136 S. Ct. at 1547. The
Court therefore dismisses the organizational plaintiffs for lack of standing with leave to amend.

                                               Conclusion

       For all of the foregoing reasons, the Court drops Aliso Viejo, San Juan Capistrano, and
Irvine for misjoinder pursuant to Federal Rule of Civil Procedure 21 and dismisses those
defendants without prejudice. The Court also declines to exercise supplemental jurisdiction over

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 21 of 22
Case 8:19-cv-00388-PA-JDE Document 98 Filed 08/12/19 Page 22 of 22 Page ID #:1717

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SA CV 19-388 PA (JDEx)                                      Date   August 12, 2019
 Title          Housing is a Human Right Orange County, et al. v. County of Orange, et al.

Plaintiffs’ allegations of violations of the Housing Accountability Act and its taxpayers’ suit
claim brought pursuant to California Civil Procedure Code section 526a. The Court dismisses
the remaining claims with leave to amend. The Court also dismisses the claims of HHROC,
OCCW, and ESC for lack of standing with leave to amend. Plaintiffs’ Second Amended
Complaint, if any, shall be filed by no later than September 16, 2019. Failure to file a Second
Amended Complaint by that date may, without further warning, result in the dismissal of this
action with prejudice. The Second Amended Complaint shall not include any new or different
defendants, claims, causes of action, or legal theories other than those specifically authorized in
this Order, without leave of this Court.

          IT IS SO ORDERED.




CV-90 (06/04)                              CIVIL MINUTES - GENERAL                            Page 22 of 22
